Case 1:21-cr-00078-RCL DociiNharHE49-2 Filed 04/19/24 Page 1 of 2 Page 1 of 2
COUNTY OF UTAH, STATE OF UTAH

State of Utah

VS.

SULLIVAN, JOHN EARLE Affidavit of Probable Cause
Date Of Birth:

Arrestee

On 07/09/2020 21:02 the defendant was arrested for the offense(s) of:

Offense Date § Offense Description Enhancement Statute Severity Court

1 07/09/2020 CRIMINAL MISCHIEF - LOSS $500 - $1,500 76-6-106(3)(B)(III) MA DST

2 07/09/2020 RIOT - BODILY INJURY/PROPERTY DAMAGE/ARSON/DANGEROUS 76-9-101(3) F3 DST
WEAPON

3 07/09/2020 THREAT OF VIOLENCE 76-5-107 MB DST

I believe there is probable cause to charge the defendant with these charges because:
John Sullivan Case 20PR14256

Probable Cause:
Video evidence has been obtained to support the statements below:

On 6/29/20 between the hours of 1800 to 2345 hours an unlawful protest occurred. Protesters traveled through downtown Provo
City. The protesters did not obtain a permit for the event. One of the organizers of the protest was John Earle Sullivan (DOB
7/18/94). His organization (Insurgence USA) also promoted the event. John Sullivan and Insurgence USA had social media
posting’s promoting other protesters to join them. John Sullivan is heard in his own videos while conducting a Facebook live
broadcast promoting protesters to join them.

John Sullivan committed a Riotous act as a protest organizer the following occurred. The protest had roughly eighty to one
hundred protesters, including John Sullivan, who was actively engaged as a leader/organizer. The protest traveled on the
roadways blocking motorists who have the right of way. John Sullivan blocked vehicles from freely moving lawfully. During the
course of the protest, two handguns were brandished and two shots fired towards a motorist traveling to Home Depot. Vehicles
were damaged by protestors as well as by John Sullivan. Protesters and John Sullivan made threats of violence while conducting
the protest and while committing acts of criminal mischief.

Video dated June 29 at 7:50 PM Provo

As a protest organizer John Sullivan is heard and seen as he is promoting protesters to block roadways, keeping motorists from
traveling lawfully and freely.

Video dated June 29 at 9:07 PM Provo

Acts committed by John Sullivan of threats of violence. At 1:41 mark, John is heard saying "I'll beat your ass bitch". The verbal
threat was directed towards a female driver (i who occupied the maroon Dodge, Durango.

1:44 mark, John Sullivan is heard and seen in the reflection of the vehicle kicking the driver's side door of the Dodge Durango
causing criminal mischief. Damage was a large dent on the exterior of the door. John is heard yelling "Will fuck your head up" as
he kicked the vehicle door with the female motorist (MM) inside. A second video, viewed from behind John Sullivan,
records John Sullivan when he kicks the driver's side door of the Dodge Durango while making threats,

At 5:40 mark, John is heard talking about the shooting incident. He told other protesters he saw the gun smoking when shots
were fired (indicating he had seen the shooter). John is seen around the shooter (NEN throughout the protest. As a

protest organizer, John Sullivan is heard talking about seeing the shooting, looking at the gun, and seeing smoke coming from it.
Iohn did not condemn the attemnted murder nor attemnt to ston it nor aide in its investiaatinn hv nolice. John Sullivan is later
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seen with the shooter walking shoulder teshpyldenand ERnwersiag inicalnconveesation; post-shopting-( Reference case
20PR14093 for shooting case). John Sullivan had a criminal responsibility as a direct commission of the offenses or conduct of
another to report felony acts, condemn the behavior, and aide in the investigation.

TEP a pee

Charges:

76-6-106 Criminal Mischief, A Felony 3.
76-5-107 Threat of Violence, A Class B Misdemeanor
76-9-101 Riot, A Felony 3.

By submitting this affidavit, I declare under criminal penalty of the State of Utah that the foregoing is true and correct.
/S/ Crowther, Jason

Officer Name: PRJCROWT - a Probable Cause Entered: 07/09/2020 22:06
A sworn officer with: UT0250600 - Provo PD Probable Cause ID: 156446
Agency Case 20PR14256 Suggested Bail Amount:

SUBMISSION IDENTIFICATION INFORMATION
Booking Agency: Utah County Sheriff Office Booking Agency ORI: UT0250000
Agency Inmate ID: 396349 SID: NONE OTN: 60731197
Arrest Date/Time: 07/09/2020 21:02 FBI ID: NONE
